      16-50355-cag Doc#79 Filed 10/12/17 Entered
                                 UNITED STATES   10/12/17 16:37:33
                                               BANKRUPTCY COURT    Main Document Pg 1 of 3
                                                SOUTIlERN AND WESTERN DISTRICTS OF TEXAS




INRE:                                                                    §
                                                                         §
Jeffrey Herrmann Jaffe                                                   §              CASE NO. 16-50355-CAG-11
                                                                         §              CHAPTER 11
                                                                         §
DEBTOR                                                                   §

                                                 CHAPTER 11 POST-CONFIRMATION REPORT
                                             FOR TIlE QUARTER ENDING September 6. 2017

I. _ _Quarterly or lFinal (cbeck one)

2. SUMMARY OF DISBURSEMENTS·:

     A. Disbursements made under the plan (itemize on page 3)                                                                           o
                                                                                                                                 $ _ _ __

     B. Disbursements not under the plan                                                                                         $      0
                                  Total Disbursements                                                                            $   $85,533.01
           • ALL DISBURSEMENTS MADE BY TIlE REORGANIZED DEBTOR, UNDER TIlE PLAN OR OTHERWISE, MUST BE
           ACCOUNTED FOR AND REPORTED IlEREIN FOR TIlE PURPOSE OF CALCULATING THE QUARTERLY FEES.

3.         Has the order confirming plan become final?
                                                                                                                             GO             No
4.
s.
           Are Plan payments being made as required under the Plan?
           If "No", what Plan payments have not been made and why?
                                                                                                                             Yes
                                                                                                                                            8
           Please explain:
                                             Deed in Lieul Morris Jaffe paid all
                                             creditors

6.         U plan payments bave not yet begun, when will the first plan payment be made? _ _ _ _ _ _ _ _ _ (Date)

7.         What date did the reorganized debtor or successor of the debtor under the plan assume the business or management of the property
           treated under the plan?                           (Date)

8.         Please describe any factors which may materially affect your ability to obtain a final decree at this time.




9.         Complete the form for Plan Disbursements attached.


10.        CONSUMMATION OF PLAN:
                                                                                                                 INITIALS
           A. If this is a final report, has an application for Final Decree been submitted·?
                                                                                                                DATE
                            Yes Date application was submitted                 9-1-17
                                                                                                                  UST USE ONLY
                            No Date when application will be submitted _ _ _ _ __
              *(1' required by LoClI Rule)
                                                                        8-1-17
           B. Estimated Date of Final Payment Under Plan _ _ _ _ _ _ _ _ __

           I CERTIFY UNDER PENALTY OF PERJURY THAT TIlE ABOVE INFORMATION IS TRUE AND CORRECT TO TIlE
           BEST OF MY KNOWLEDGE.


           SIGNED:         ~~                                                                       DATE: _ _0_9/_0_8/_2_0_
                                                                                                                          1 7_ __
                                  Jeffrey Jaffe
                                  (pRINT NAME)
     16-50355-cag  Doc#79
               Jeffrey     Filed 10/12/17
                       Herrmann
       mRE: __________________    Jaffe
                                  __      Entered 10/12/17 16:37:33 Main Document Pg 2 of 3
                                                          CASE No.16-50355-CAG-11

 CASH RECEIPTS AND DISBURSEMENTS                                                     CURRENT           CONFIRMATION
                                                                                     QUARTER             TO DATE
 CASH-BEGmNmG OF QUARTER                                                           $1,300.50
 RECEIPTS                                                                          $352,559.55
.JD1SBURSEMENIl!                                                               ,
 NET PAYROLL                                                                             0
 PAYROLL TAXES PAID                                                                      0
 SECUREDIRENTAULEASES                                                                    0
 UTILITIES                                                                          $2,366.12
 mSURANCE                                                                              0
 INVENTORY PURCHASES                                                                   0
 VEHICLE EXPENSES                                                                       0
 TRAVEL & ENTERTAmMENT                                                                  0
 REPAIRS. MAmTENANCE & SUPPLIES                                                     $102.57
 ADMmlSTRATIVE & SELLmG                                                                0
 OTHER (.tt"'~ 11$1)                                                               $83,084.32
         PLAN PAYMENTS ,•••• 1 aad •••• J)
 TOTAL DISBURSEMENTS (this figun should equal Total dbbuncmcnts.llcm 1,
 Summary orDisburscmcDlJ)                                                          $85,553.01

 NET CASH FLOW                                                            $267.006.54
 CASH·END OF QUARTER                                                      $268,307.04
                                          CASH ACCOUNT RECONCILIATION FOR ALL FUNDS
                                                 OUARTER ENDmG
                                                   ~'JVl!ar                 r.;;sif-r
                                                                                    ~§1f7·r                    Total

 Baak Balance                                     $81.316.34              $273846.65         $268307.04
 De:nasit in Tnasil                                    0                     0                  0
 Ouut,adl.!: Checks                                       0                   0                  0
 Adjusted Balance                                 $81,316.34              $273,846.65        $268307.04
 SHlnal.1! Cash-Per Books                        $1,300.50                $81,316.34         $273,846.65
 Rcccints                                        $101,249.00              G;251.24!:)00       +$61.55
 Tnas(ers Btrwcca Accoaats                          0                         0                  0
 Checks/Other Disbursements                      -$21,233.16               $58,718.69         $5,601.16
 Ending Cash-Per Books                            $81,316.34              $273,846.65        $268,307.04
                                      STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS
                                                        MO~rr7r               ~~1f''''
                                  MonlblYc:ar
                                   07/17                                                                     Total

 !Ieo1 •• I•• c..~             $1300.50                    $81,316.34                   $273,846.65
 Tolal Receipts               $101,249.00                     $251,249                    $61.55
 Total DlsbuncmcDts            $21,233.16                   $58718.69                    $5601.16
 Ending Cash                  $81,316.34                   $273,846.65                  $268,307.04
                                                                  2
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      INRE:                                                         §
                                                                    §
      Jeffrey Herrmann Jaffe                                        §     CASE NO.   16-50355-CAG-11
                                                                    §
      DEBTOR                                                        §


                                       PAYMENTS TO CREDITORS UNDER THE PLAN



                                                                                     CURRENT           CONFIRMATION
                                                                                     QUARTER             TO DATE

                                                             N!X'r I!A>YMBN:II
              ClREDlTOib                         ClI:.ASS_         DUlt




TOTAL PLAN PAYMENTS: (report   08   page 1 lad page 1)




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